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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION

VALERIE LOY, On Behalf of HERSELF and )
All Others Similarly Situated,        )
                                      )                COLLECTIVE ACTION
       Plaintiff,                     )
                                      )                CASE NO. 7:18-cv-00004
v.                                    )
                                      )                JUDGE ALVAREZ
REHAB SYNERGIES, LLC,                 )
                                      )
       Defendant.                     )


                           NOTICE OF FILING TRIAL SUBPOENAS

        Plaintiffs hereby file the following two documents, which are attached hereto as Exhibits

 A and B:

        1. Subpoena to Appear and Testify Directed to Jubenal Garcia, Jr. (Exhibit A);

        2. Subpoena to Appear and Testify Directed to Carmen Vitton (Exhibit B).




  Date: January 19, 2022                            Respectfully submitted,

                                                    /s/ Jerry E. Martin (with permission of
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                                 CERTIFICATE OF SERVICE
        I hereby certify that a true and exact copy of the foregoing Notice of Filing Trial Subpoenas
was filed electronically with the Clerk’s office by using the CM/ECF system and served upon the
parties as indicated below through the Court’s ECF system on January 19, 2022:

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